                                  IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA
                                           ROANOKE DIVISION

                               CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 4:18CR00011-007                 Date: 10/11/2019

  Defendant: Matthew Caesar Ferguson, custody                      Counsel: Mary Maguire, FPD

  PRESENT:          JUDGE:                  Michael F. Urbanski, CUSDJ
                    TIME IN COURT:          1:09-2:05 56m
                    Deputy Clerk:           Kristin Ayersman
                    Court Reporter:         Judy Webb
                    U. S. Attorney:         Heather Carlton
                    USPO:                   Lollie Burns
                    Case Agent:             Devin Taylor, FBI TFO
                    Interpreter:            none

  PROCEEDINGS:

         Waiver of Indictment filed.
         Information filed.
         Plea Agreement filed with court. SOF filed with the court.
         Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
         Consent to Allow U. S. Magistrate Judge to accept plea
         Defendant re-arraigned as to Counts Enter counts to which pleading guilty
         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court takes plea of guilty and plea agreement under advisement, and court finds that plea is knowing and voluntary
         and supported by basis in fact.
         Guilty plea form executed and filed.
         Government summarizes evidence to support plea and rests.
         Court finds defendant guilty as charged in Counts 1s
         OR
         U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
         recommend that the U. S. District Judge find the defendant guilty of said counts.

  DEFENDANT PLEADS:
  (list counts)

      DEF. #            GUILTY               NOT GUILTY             NOLO                      REMARKS
               1s
        1

        2

        3

        4

         Court orders Presentence Report.
         Copy of Presentence Report not requested.
         Defendant to remain on bond.
         Defendant remanded to custody.




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           Sentencing hearing scheduled for TBD before Judge Urbanski.

  Additional Information:
  Defedant states on record that the SOF entered today is correct. FPD states truth of either SOF does not need to factor into
          the court's acceptance of his plea. Court addresses defendant directly. US states a trial exhibit from FB
          corroborates defendant's current statement. FPD restates that statements made at each plea hearing are more
          appropriately addressed on cross-examination, objects to court asking for reason for different statements for reasons
          stated on the record. Defendant states that the November SOF was because he was advised by first lawyer, Allegra
          Black, to say that - statement made on advice of counsel. Court asks defendant if today's SOF is true and correct,
          defendant states it is. Court confirms with both counsel that this is the correct SOF.




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